      Case 4:20-cv-05146-YGR Document 907 Filed 11/11/22 Page 1 of 5




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                                UNITED STATES DISTRICT COURT
21                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
22

23   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
24          Plaintiffs,                              STIPULATION AND [PROPOSED]
                                                     ORDER AUTHORIZING RELEASE OF
25                                                   AUGUST 4, 2022 HEARING
            v.
26                                                   TRANSCRIPT
     GOOGLE LLC,
27       Defendant.
28
                                                                    Case No. 4:20-cv-5146-YGR-SVK
                                     STIPULATION AND [PROPOSED] ORDER AUTHORIZING RELEASE OF
                                                            AUGUST 4, 2022 HEARING TRANSCRIPT
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 1           WHEREAS, on August 1, 2022, the Court set an August 4, 2022 sealed hearing related to

 2 the anticipated logistics for the upcoming Sanctions hearing on August 11, 2022 (Dkt. 802);

 3           WHEREAS, the Court’s website states that “[a] transcript [for under-seal proceedings]

 4 cannot be generated without an order from the assigned judge” 1;

 5           WHEREAS, the parties agree that the transcript, which contains material designated by

 6 Google as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only,” may be released to

 7 counsel of record in this matter, who are authorized to view this material under the First Modified

 8 Stipulated Protective Order Governing Exchange of Confidential Discovery Material as Modified

 9 by the Court (Dkt. 61);

10           NOW THEREFORE, IT IS HEREBY AGREED AND STIPULATED, subject to the

11 Court’s approval, that the complete transcript of the August 4, 2022 hearing may be released to

12 counsel of record in this matter.

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         https://www.cand.uscourts.gov/about/clerks-office/transcripts-court-reporters/
                                                      1                      Case No. 4:20-cv-5146-YGR-SVK
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 1 DATED: August 11, 2022
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 2                                               SULLIVAN, LLP
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                                                  2                 Case No. 4:20-cv-5146-YGR-SVK
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 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 3 Date:               , 2022
                                                Hon. Susan van Keulen
 4                                              United States Magistrate Judge
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       Case 4:20-cv-05146-YGR Document 907 Filed 11/11/22 Page 5 of 5




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained
 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4
                                                          /s/ Lesley E. Weaver
 5                                                        Lesley E. Weaver
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